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                                  EXHIBIT A
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Eat Here Brands, LLC, et al. - Service List to e-mail Recipients
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AMFIRST INSURANCE CO LT                            ARNALL GOLDEN GREGORY LLP                 ARNALL GOLDEN GREGORY LLP
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                                                                                         Parties Served: 29




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                                  EXHIBIT B
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ALABAMA DEPARTMENT OF REVENUE                   AMERICAN EXPRESS                    AMFIRST INSURANCE CO LT
2020 VALLEYDALE RD, STE 2108                    P.O. BOX 650448                     ATTN: RICHARD EATON
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                                                                                    RIDGELAND, MS 39157




ANDREW M SAMPSON                                BENNETT THRASHER                    CITY OF ALANTA
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OCEAN SPRINGS, MS 39564                         3300 RIVERWOOD PKWY, STE 700        ATLANTA, GA 30303
                                                ATLANTA, GA 30339




EAT HERE BRANDS LLC. ET AL.                     EDWARD DON AND CO                   ESTATE OF SIDNEY ALLEN
9755 DOGWOOD RD, STE 200                        ATTN: CINDY NIEWINSKI               200 BRAE BURN DR
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                                                CHICAGO, IL 60674




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                                                ATLANTA, GA 31145                   PHILADELPHIA, PA 19101-7346




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BRANDON, MS 39042                               PALM HARBOR, FL 34683               BRANDON, MS 39042




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SAR & ASSOCIATES INC                            STACK & MOYER FAMILY HLDG LLC       SYSCO ATLANTA - 684530
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SYSCO BIRMINGHAM - 621110                       SYSCO JACKSON LLC                   SYSCO KNOXVILLE LLC
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CALERA, AL 35040                                JACKSON, MS 39207-2900




SYSCO MEMPHIS                                   SYSCO OVERTON-741751                THE U.S. ATTORNEY FOR THE NORTHERN DISTRIC
4359 BF GOODRICH BLVD                           4359 B.F GOODRICH BLVD              ATTN: CIVIL PROCESS CLERK
MEMPHIS, TN 38118                               MEMPHIS, TN 38118-7306              NORTHERN DISTRICT OF GEORGIA
                                                                                    75 TED TURNER DR, SW STE 600
                                                                                    ATLANTA, GA 30303-3309


                                                                                Parties Served: 42




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